Mark Cole, et al. v. Colonial Penn Life Insurance Company et al. (State Case No.: 23CV012045)




                                Exhibit
                                  E




DEFENDANT COLONIAL PENN LIFE INSURANCE COMPANY’S NOTICE OF REMOVAL
 1   KATHY J. HUANG (SBN 240677)
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 2   RACHEL E. K. LOWE (SBN 246361)
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 6
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 7 Attorneys for Defendant
   COLONIAL PENN LIFE
 8 INSURANCE COMPANY

 9              SUPERIOR COURT OF THE STATE OF CALIFORNIA
10                       COUNTY OF SACRAMENTO

11   MARK COLE, on behalf of himself and all     Case No.
     others similarly situated and aggrieved,
12                                               State Case No.: 23CV012045
13
                Plaintiff,
                                                 NOTICE TO SUPERIOR COURT
14        v.                                     AND ADVERSE PARTY OF
                                                 REMOVAL OF ACTION TO
15   COLONIAL PENN LIFE INSURANCE                FEDERAL COURT
     COMPANY; and DOES 1 to 50, inclusive
16                                               Filing Date: December 22, 2023
17              Defendants.

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      NOTICE TO SUPERIOR COURT AND ADVERSE PARTY OF REMOVAL OF ACTION TO FEDERAL COURT
 1          PLEASE TAKE NOTICE that, on December 22, 2023, Defendant Colonial Penn Life
 2   Insurance Company filed a Notice of Removal of this case in the United States District Court for the
 3   Eastern District of California. A true and correct copy of the Notice of Removal is attached hereto
 4   as Exhibit A.
 5

 6   Dated: December 22, 2023             KATHY J. HUANG
                                          RACHEL E. K. LOWE
 7                                        ALSTON & BIRD LLP
 8

 9                                        By:    /s/ Kathy J. Huang
                                                 Kathy J. Huang
10                                        Attorneys for Defendant
                                          COLONIAL PENN LIFEE INSURANCE COMPANY
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         NOTICE TO SUPERIOR COURT AND ADVERSE PARTY OF REMOVAL OF ACTION TO FEDERAL
                                           COURT
